           Case 3:14-cr-00140-HEH Document 241 Filed 12/04/15 Page 1 of 7 PageID# 4572
AO 245B (Rev. 12/03)(VAED rev. 2) Sheet I - Judgment in a Criminal Case



                                           UNITED STATES DISTRICT COURT
                                               Eastern District of Virginia
                                                              Richmond Division


UNITED STATES OF AMERICA
                     v.                                                   Case Number:    3: 14CROO 140-00 I
IREK ILGIZ HAMIDULLIN,                                                    USM Number: 84991-083
 a/k/a lrek Ilgiz Khamidullah,
   Defendant.                                                             Defendant's Attorneys: Robert J. Wagner, Esq.,
                                                                            Paul G. Gill, Esq., and Claire G. Cardwell, Esq.



                                            JUDGMENT IN A CRIMINAL CASE
  The defendant was found guilty on Counts 1-15 of the Second Superseding Indictment after pleas of not guilty.
Accordingly, the defendant is adjudged guilty of the following counts involving the indicated offenses:

Title and Section                 Nature of Offense                                Offense Class      Offense Ended      Count

18 U.S.C. § 2339A                 Conspiracy To Provide Material Supp011              Felony             11/29/2009
                                  to Terrorists

18 U.S.C. § 2339A and 2           Providing Material Support to Terrorists            Felony             11/29/2009        2

18   u.s.c. § 32                  Conspiracy To Destroy an Aircraft of the            Felony             11/29/2009        3
                                  Armed Forces of the United States

18 U.S.C. § 32 and 2              Attempt To Destroy an Aircraft of the               Felony             11/29/2009        4
                                  Armed Forces of the United States

18   u.s.c. § 1117                Conspiracy To Kill an Officer or                    Felony             11/29/2009        5
                                  Employee of the United States or a
                                  Person Assisting Such Officer or
                                  Employee

18 U.S.C. § 1114 and 2            Attempt To Kill an Officer or Employee               Felony            11/29/2009        6
                                  of the United States or a Person Assisting
                                  Such Officer or Employee

18   u.s.c. § 1114                Attempt To Kill an Officer or Employee              Felony             11/29/2009        7
                                  of the United States or a Person Assisting
                                  Such Officer or Employee

18 u.s.c. § 2332(b)               Conspiracy To Murder a National of the               Felony            11/29/2009        8
                                  United States

18 u.s.c. § 2332(b)               Attempt To Murder a National of the                  Felony            11/29/2009        9
and 2                             United States
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Case Number:                   3: 14CR00140-001
Defendant's Name:              HAMIDULLIN, IREK ILGIZ



Title and Section                Nature of Offense                                  Offense Class          Offense Ended   Count

18 U.S.C. § 2332(b)               Attempt To Murder a National of the                   Felony              11/29/2009        10
                                  United States

18 U.S.C. § 2332(c)              Engaging in Physical Violence with                     Felony               l l/29/2009      11
and 2                            Intent to Cause Serious Bodily Injury to a
                                 National of the United States

18 U.S.C. § 2332(c)              Engaging in Physical Violence with                     Felony              1 l/29/2009       12
                                 Intent to Cause Serious Bodily Injury to a
                                 National of the United States

l 8 U.S.C. § 2332a                Conspiracy To Use a Weapon of Mass                    Felony               11/29/2009       13
                                  Destruction

18 U.S.C. § 924(c)(l)(A)          Possession of a Fireann in Connection                 Felony               11/29/2009       14
and (B)(ii)                       with a Crime of Violence

18 u.s.c. § 924(0)                Conspiracy To Possess a Firearm in                    Felony               11/29/2009       15
                                  Connection with a Crime of Violence



  As pronounced on December 3, 2015, the defendant is sentenced as provided in pages 2 through 7 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.


                                                                                                     /s/
                                                                          Henry E. Hudson
                                                                          United States District Judge


                                                                          Dated:~ Cc:.-- &.\ '2. 0 l r
                                                                                                 I
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         Sheet 2 - Imprisonment

Case Number:                  3: 14CROO 140-00 I
Defendant's Name:             HAMIDULLIN, IREK ILGIZ


                                                                IMPRISONMENT
   The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of LIFE, PLUS THREE HUNDRED SIXTY (360) MONTHS CONSECUTIVE CONFINEMENT.

    This term of imprisonment consists of the following:
        LIFE on Count l;
        LIFE on Count 2, to be served concurrently;
        TWO HUNDRED FORTY (240) MONTHS on Count 3, to be served concurrently;
        TWO HUNDRED FORTY (240) MONTHS on Count 4, to be served concurrently;
        LIFE on Count 5, to be served concurrently;
        TWO HUNDRED FORTY (240) MONTHS on Count 6, to be served concurrently;
        TWO HUNDRED FORTY (240) MONTHS on Count 7, to be served concurrently;
        LIFE on Count 8, to be served concurrently;
        TWO HUNDRED FORTY (240) MONTHS on Count 9, to be served concurrently;
        TWO HUNDRED FORTY (240) MONTHS on Count 10, to be served concurrently;
        ONE HUNDRED TWENTY ( 120) MONTHS on Count 11, to be served concurrently;
        ONE HUNDRED TWENTY ( 120) MONTHS on Count 12, to be served concurrently;
        LIFE on Count 13, to be served concurrently;
        THREE HUNDRED SIXTY (360) MONTHS on Count 14, to be served CONSECUTIVELY;
        LIFE on Count 15, to be served concurrently.

The defendant is remanded to the custody of the United States Marshal.




                                                                  RETURN




Defendant delivered on - - - - - - - - - - - - to- - - - - - - - - - - - - - - - - - - -


at_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, with a certified copy of this Judgment.




                                                                   UNITED STATES MARSHAL


                                                        By
                                                                   DEPUTY UNITED STATES MARSHAL
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         Sheet 3 - Supervised Release

Case Number:                  3: 14CR00140-001
Defendant's Name:             HAMIDULLIN, IREK ILGIZ


                                                         SUPERVISED RELEASE

   Upon release from imprisonment, the defendant shall be on supervised release for a term of LIFE. This term consists
of LIFE on each of Counts l-4 and 6-13, and FIVE (5) YEARS on each of Counts 5, 14, and 15, all to run concurrently.

   The Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions of
supervised release.
   The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.
   The defendant shall not commit another federal, state or local crime.
   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
periodic drug tests thereafter, as determined by the court.
   The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
   If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay
any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties
sheet of this judgment.

                                   STANDARD CONDITIONS OF SUPERVISION

The defendant shall comply with the standard conditions that have been adopted by this court set forth below:

I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
      first five days of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
      probation officer;
4)    the defendant shal1 support his or her dependents and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
      training, or other acceptable reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
      administer any narcotic or other controlled substance or any paraphernalia related to such substances, except as
      prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
      administered;
9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
      person convicted of a felony, unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
      confiscation of any contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
      enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement
      agency without the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
      defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
      notifications and to confirm the defendant's compliance with such notification requirement.
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         Sheet JA - Supervised Release

Case Number:                  3:14CR00140-00I
Defendant's Name:             HAMIDULLIN, IREK ILGIZ

                                     SPECIAL CONDITIONS OF SUPERVISION

While on supervised release pursuant to this Judgment, the defendant shall also comply with the following additional
special conditions:

     1.   Upon completion of his tenn of imprisonment, the defendant is to be surrendered to a duly-authorized
          immigration official of the Department of Homeland Security, Bureau of Immigration and Customs Enforcement,
          for a deportation review in accordance with established procedures provided by the Immigration and
          Naturalization Act, 8 U .S.C. § 1101 et seq. As a further condition of supervised release, if ordered deported, the
          defendant shall remain outside the United States.

     2. The defendant shall pay the balance owed on any court-ordered financial obligations as directed by the probation
        officer.
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         Sheet 5 - Criminal Monetary Penalties

Case Number:                  3: 14CR00140-001
Defendant's Name:             HAMIDULLIN, IREK ILGIZ




                                             CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Page 7.

                                   Counts                  Assessment          Fine           Restitution
                                    1-15              $100.00 EACH COUNT       $0.00            $0.00


             TOTALS:                                             $1,500.00     $0.00             $0.00



                                                                       FINES
No fines have been imposed in this case.
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         Sheet 6 - Schedule of Payments

Case Number:                  3: I 4CROO 140-00 I
Defendant's Name:             HAMIDULLIN, IREK ILGIZ


                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

The special assessment and restitution shall be due in full immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (I) assessment (2) restitution principal (3) restitution interest (4) fine
principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court
costs.

Nothing in the court's order shall prohibit the collection of any judgment, fine, or special assessment by the United States.
